Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 1 of 6




                    EXHIBIT 4

             (Filed Under Seal)
                    Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 2 of 6


Sigrid Mccawley

From:                              Sigrid Mccawley
Sent:                              Tuesday, May 17, 2016 3:53 PM
To:                                Laura Menninger; Meredith Schultz; Jeff Pagliuca
Cc:                                'brad@pathtojustice.com' (brad@pathtojustice.com); Paul Cassell
                                   (cassellp@law.utah.edu)
Subject:                           RE: Notice of Subpoena
Attachments:                       May-June 2016 Deposition Calendar.pdf


Hello Laura - We are working on the calendar and I have it almost complete but I was awaiting confirmation on a date
from Mr. Rizzo's counsel so I didn't want to send it out prematurely and that was delaying me.

We were serving subpoenas on dates that we thought are grouped within the locations/date ranges we discussed during
the meet and confer and since we have been having an extraordinarily difficult time serving witnesses who appear to be
attempting to evade service we need to keep that process moving.

We do intend to work with you on dates as we discussed. Attached is the proposed calendar with the caveat that dates
may shift if witnesses make change requests but we are doing our best to group locations together where possible.

Again - this is not final as I noted I believe you had some dates you were gone but were checking with Jeff to determine
his availability.

Finally, we are writing to confer whether you will stipulate that we may exceed the 10 deposition limit to complete
discovery in this case or whether we need to file a motion with the Court on that issue.

Thank you,
Sigrid

Sigrid S. McCawley
Partner
llOIES, SCHIU.ER & FL EXNER b-LP
40 l East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4223
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Tuesday, May 17, 2016 3:19 PM
To: Meredith Schultz; Jeff Pagliuca
Cc: Sigrid Mccawley; 'brad@pathtojustice.com' (brad@pathtojustice.com); Paul Cassell (cassellp@law.utah.edu)
Subject: Re: Notice of Subpoena

Sigrid and Brad -

We had a conferral last week in which you promised to provide for conferral purposes a proposed schedule for depositions we
both had requested in various locations. Rather than provide any such schedule, you have instead sent us notices for
approximately 7 depositions in NY and Florida, one for an individual who you did not mention deposing and who does not
appear among the extensive list of witnesses in your Rule 26 disclosures.

                                                             1
                                      Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 3 of 6

If you do not intend to abide by the representations you made in our conferral, then please advise and we will once again be
forced to seek intervention of the Court. See Local Rule 26.4.

-Laura


From: Meredith Schultz <mschultz@BSFLLP.com>
Date: Tuesday, May 17, 2016 at 1:08 PM
To: Laura Menninger <lmenninger@hmflaw.com>, Jeff Pagliuca <jpagliuca@hmflaw.com>
Cc: Sigrid Mccawley <smccawley@bsfllp.com>, Brad Edwards <brad@pathtojustice .com>, Paul Cassell
<cassellp@law.utah.edu>
Subject: Notice of Subpoena

Laura,

Please see the attached documents.

Thanks,

Meredith

Meredith L. Schultz
BOJES, SCl IILLER & FLEXNE R LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com



The infonr: ii ·rn cJnl,-'.:;,._J inU ,.: :._!-:. ./re 1·: n,•. ;._-5,::v           h ~cn.~1tL·,1t>I ir:'or,rn•tior: ic                • ;.J vr , )' k..r~ ; --: v   c/ ~r     ldi : ·~ r ~·:..:ipi • nt\·.; ane; m,~yc_ r t ;~in inf0nnu. ·_;n
,: :.s , ,u ,.,.ir,g ,;:, .. , ' !'{;,•.~ - ·1s, i::- 1hc ,W1j -.. '. ,:;f ,/·· ",, ,1ey-•::i'.r,. pri\. I~'·"· , ,il; :1._.; ,::irK pr..J<.' :Jct or'.> ·.m:lt rro111 ,:,;:;clc·, ur,; ur ·Jc r q .)"•::·'.i-, ia1;·1. If th~· r- ,u:u oft~;._
 :~/. c~.c. de r·1                 >·., r 1,.~' ::~, rf.:;;t·i ~._ .,· 1•., nt, -::-til t!. •. n:/·JJ •.. r? ui .-.:'~, r;t r!~si:;c· ..·(1 t1(·.: ;,,,, l at to 'J -..: ,12 .. r,.: J rt ;-,.r .:.iil. ·jc. 1 .-r·.: h,-•reb~'n:;;:;iYJ i:·)2:t -~-lY
                                                                                                                                   H




                 ., -~~-- L . ,. Ji-.•L·;. c:;l/in~ or c-··L -. ~r ur ,-_: of t- t1i • co~i1n.'in!c·,~:i,:·1 is :·-~:.r:tly ,re ::·; },'...i m·: ~. 10 ~-I•.:, '.;r: .: ·.:· ; ,1/ :~-L ir ~_i, }· : t -!1 • ..- 1,•:·,:1. ;_;J th:·: c0rnmun:·-:~,:i:ion in
·: • .iT:". . i,_. ,,._.
            1
                                ;ji,J I• ;; n-.U / i.:1.:, •.. • ~l°~'.:i·i...y , ._,.,:_r, ··: ~u :< €1 . •.-~ 01 ii ·;1.t-~~.':.~ .. , · :
                           i1r. _                                                                                                            (; d'· : .. (J ...-: : t lQ t1 ! i--:; -: > r lr ·.le ,. ,. ,;::-: ·:;,?:. from , ..Jt r cc:n~;L;!_;c fv,11




                                                                                                                              2
              Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 4 of 6




                                           Virginia Giuffre v. Ghislaine Maxwell
                                               Case no. 15-cv-07433-RWS
                                                         MAY2016
     Sunday           Monday        Tuesday              Wednesday            Thursday             Friday              Saturday
1               2              3                    4                    5                    6                   7




8                9             10                   11                   12                   13                  14




15               16            17                   18                   19                   20                  21
                                                       Deposition of                          Deposition of Sky
                                                     Johanna Sjoberg                               Roberts
                                                    Ft. Lauderdale, FL                           Oxford, FL
                                                        (confirmed)                              (confirmed)

22               23            24                   25                   26                   27                  28
                                  Deposition of                           Deposition of Dr.
                                   Lynn Miller                              Steven Olson
                                   Denver, CO                               Denver, CO
                                    (confirmed                               (confirmed)
                                although location
                                 may change per
                                   Menninger)
29               30            31
                                  Deposition of
                                   Juan Alessi
                               Ft. Lauderdale, FL
                               (subpoena served)
              Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 5 of 6




                                                   Virginia Giuffre v. Ghislaine Maxwell
                                                        Case no. 15-cv-07433-RWS
                                                                 June 2016
     Sunday        Mondav                Tuesday              Wednesday                 Thursday                 Friday              Saturday
                                                         I                      2                        3                     4
                                                            Deposition of       Deposition of James      Deposition of David       Deposition of
                                                             Maria Alessi         Michael Austrich             Rodgers
                                                         Ft. Lauderdale, FL           Ocala, FL           Ft. Lauderdale, FL   Ft. Lauderdale,
                                                         (subpoena served)      (subpoena served but      (subpoena served)           FL
                                                               and/or             Maxwell's counsel                                (served)
                                                          Jean Luc Brunel          needs to confirm
                                                                                  date change with
                                                                                       witness)
5             6                     7                    8                      9                        10                    11
                                    Deposition of Jean        Deposition of                                   Deposition of
                                        Luc Brunel                                  Deposition of JoJo        Rinaldo Rizzo
                                      New York, NY           New York/New              Fontanella             Armonk,NY
                                      (possible date)           Jersey               NewYork,NY                (confirmed)

12            13                    14                   15                     16                       17                    18
                                      Deposition of        Deposition of        Deposition ofNadia
                                     Jeffrey Epstein      Jared Weisfeld/          Marcinkova
                                     New York, NY         Sharon Churcher          Armonk,NY
                                                         (or find additional
                                                         date if they will be
                                                              too long)
19            20                    21                   22                     23                       24                    25
                  Deposition of
                  Detective Joe
                    Recarey
                                     llliiiiil
                                    Ft. Lauderdale, FL
                                                             Deposition of
                                                              Sarah Kellen
                                                             New York, NY
               Ft. Lauderdale, FL
               Case 1:15-cv-07433-LAP Document 1325-4 Filed 01/04/24 Page 6 of 6




                                                       Virginia Giuffre v. Ghislaine Maxwell
                                                            Case no. l 5-cv-07433-RWS
26               27                   28                    29                    30
                                         Deposition of       (Other California     Deposition of Ross
                                         Emmy Taylor           witnesses if               Gow
                                         California or           needed)             (possible date)
                                            London
                                       (possible date not
                                          served with
                                         subpoena yet)


***Week of June 20 - 24 may be bad for Maxwell's counsel (please confirm)
****Week of June 27 - July 1st may be bad for Maxwell's counsel (please confirm)
*****Need to confirm Maxwell will accept service for her agent Ross Gow.
There may be a few other witnesses that we may need to add if they can't confirm attendance at trial.
